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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division




   JuuL Labs.Inc.,


                         Plaintiffs

                                                            Case No. I:I9-cv-7I5
                                                            Hon. Liam O'Grady
   The Unincorporated Associations
   Identified in Schedule A,

                         Defendants.


                                 MEMORANDUM OPINION


       This matter came before the Court on PlaintifTs ex parte Motion for Temporary

Restraining Order (TRO) (Dkt. 10). Plaintiff alleges that Defendants "are knowingly and

intentionally promoting, advertising, marketing, retailing, offering for sale, distributing, and

selling counterfeit products bearing the famous and distinctive [Juul] Trademarks." Defendants

are unknown individuals identified in Schedule A (Dkt. 7) by their eBay seller ID or store name.

       Plaintiff requested that the Court issue a temporary restraining order freezing the assets of

each of the Defendants' PayPal accounts. The lack of identification for the Defendants and the

need to prevent Defendants from removing their assets beyond the jurisdiction of the Court

necessitated the ex parte motion.

       For the reasons that follow and for good cause shown,the Court granted Plaintiffs motion.
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